                                                                                  CLERK': oFFlcE tJ.s.Dps'r.(ZOIJR.J
                                                                                         AT ROANOKE,vA
                                                                                              FILED

                                                                                          DE2 j3 22:
                                                                                      JUL c D         k   c sRx
                       IN T H E U N ITED STATE S D IST RICT CO U RT                 Bg;           '
                                                                                                        '
                                                                                                 ..               .

                       FO R TH E W E STE RN D IST RICT O F W R GIN IA                        P        cL R
                                H ARRISO N BU RG D IW SIO N

   UNITED STATESOF AM ERICA                     )       CdminalActionNo.5:11-Cm 0003
                                                )
   v.                                           )
                                                )
   AN AY PATEL,                                 )       By: M ichaelF.Uêbansld
       Petitioner.                              )           ChiefUnited StatesDistrictJudge
                                   M EM O RAN DU M O PIN IO N

           PetitionerAnjayPatelfiledamodon tovacate,setaside,orcorrecthissentence
    pursuantto 28U.S.C.j2255on two gzounds.First,Patelclnimsthecoun's2013rtzling
    denying release offorfeited substittzte assetsto pay lnisretained counselisundoneby the

    2016SupremeCouztdecisionin Luisv.United States,136S.Ct.1083 (2016).Second,Patel
    clnimsthegovernmentwithheld discoveryofan OffkeofInspectorGenetal(OlG)Report
    invioladonoftheruleinBrad v.Ma land,373U.S.83(1963).ECFNo.871.The
    govetnmentmoved to disnlissPatel'sj2255motion on thebasisoftimeliness,ECF No.
    877,andPatelresponded,ECF No.878.1Onlanuary18,2018,Patel'scounselwritealetter
    providingmorerecentinformationconcerningllis>               clnim.ECF No.893.Forthe
    reasonssetforth in thisopinion,thegovernm ent'sm odon to disnlisswillbegranted asthe

    petdon,aspleaded,isuntim ely.H owever,asexplained herein,Patelwillbegranted leave to

    am end laissecond clnim to zaiseBcq-y
                                       d violations,ifany,beyond those he could have
                                     - -




    asserted based on the2013 O IG Report.

                                                 I

             1Initsmodontoclismiss,theyovernmentmovedtostaybziefmgonthemeritsofthetmderlyingclaimsin
    Patel'sj2255modon,pendingthecourt'szesoludonoftimeliness.ECFNo.877.'l'
                                                                         hecout'tgrantedthemoéontostay
    thebriefmgscheduleyandthegovemmentreserveditszkhttorespondtoPatel'sj2255modononthemerits.ECF                       '
    No.880.



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            OnOctober6,2011,afederalg'
                                     randjurynamedPatelandothersinanl8o-count
   indictmentchargingvioladonoftheContrabandCigaretteTraffckingAct(CTCCTA''),
   variousform sofm oney laundering,conspiracy to com m itm oneylaundering,conspiracy to

   trafficin contraband cigarettes,and trafficldng in contraband cigaretesand counterfeitstate

   tax stam ps.Theindictm entfollowed alengthy undezcovezsting operation conducted by

   agentsfrom theBureau ofAlcohol,Tobacco,andFirent'ms(f%TF''),who solduntaxed
    cigarettesto thedefendants.The noticeofforfeiture attached to the indictnentidendhed

    thatcertain ofPatel'spropertywasdirectly fozfeitableundervatiouscrim inalforfeittue

    statutes,including18U.S.C.j981(a)(1)(C),18U.S.C.j982(a)(1),28U.S.C.j2461,and49
   U.S.C.j8030.Thegovernm entallegedtheforfeitableassetsincludeda$20.9millionm oney
    judgment,severalbusinessentdes,bank accounts,andrealandpersonalpropezty.However,
    thegovernm entcould notlocate directly forfeitable assetsofPatelsuffk ientto zeach that

    figure,andthereforesoughtforfeittzreofsubsdttzteassetspursuantto21U.S.C.j853($.
            O n O ctober26,2011,thecourtissued severalprotecdve ordersto preventPatel

    from alienating,encum bering,orw asting forfeitable propertyand substitute assets.ECF

   N os.27,221,222,and 223.O n M ay 11,2012,Patelm oved to m odify the pretrialprotecdve

    orders,asseréng thatthe ordersrendered lnim unable to fully pay hiscounselofchoicein

   violaéon oftheSixth A m endm ent.ECF N o.334.Patelrequested m odificadon ofthe

    protecdve ordersto release sufik ientsubstim te assetsto pay llislegalfees,ashew asin

    arrearsunderllisfee agreem entwith retained counsel.zIn connection with thism otion,Patel


            2 Colm selforPatelftledtm dersealacopyofthefeeagreem ent,seeECF N o.374,andstatedataM ay22,
    2012 hearing thatPatelhad not6111y satished hisobligaéonstm derhisfeeagzeementw1t11counsel.Subsequently,the
    courtordezed Patel'scolm selto apprise the cout'
                                                   tasto tlze am olm toffeesPatelhad paid to hislawyer.United Statesv.
    Patel,949F.Supp.2d642,663n.20(W.D.Va.2013).


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   urged thecourtto conductahearing ptusuantto United Statesv.Fnt-mer,274F.3d 800 (4th
   Cit.2001),which requiresapretrialhearingwhen Tfadefendantclnimsthataportion ofthe
   assetsresttained pursuantto crim inalforfeiture stattztesare untainted and thathehasno

   otherfundsfrom which to securethecounselofhischoice.''J.dz.at803-04.
          The cout'
                  theld theFnt-merhearing on O ctober 16,2012.Aftetreviewing the

    evidencepresented,the courtdenied Patel'sm otion to release l'
                                                                 lissubsdtuteassetsin a

   m emorandum opinion datedlanuary11,2013.ECF No.481.Thecourtfound thatthe
   goveznm enthad dem onstrated theexistenceofprobablecause sufhcientfortheissuance of

    aprotecdveorderrestrainingup to$20.9million in proceedsfrom contraband cigarette
    trafficking.D espitethe exercise ofdue diligence,thegovernm entcould notlocate tainted

    assetsofPatel'sto reach thatfigare.Thus,afterreviewing both civiland ctim inalforfeiture

    stam tes,thecourtconcluded thatthegovernm entcould seek forfeitute ofPatel'ssubsdtm e

    assetsup to $20.9million,pursuantto 21U.S.C.j853t$.ThecotutconcludedthatPatel
    had paid counselm ote than sufficientftm dsto defend lziscase,and thatgiven the am ountof

    paid fees,ffthere gwas)no credibleargumentthatPatel'sShthAmendmentrightsgwere)in
    dangerofbeinginfringed.':United Statesv.Patel,949F.Supp.2d 642,663 (W.D.Va.2013).
          Onlanuary17,2013,Patelflled anodceofinterlocutoryappealin theUnited States
    CourtofAppealsforthe Fourth Circuit,appealing thecourt'sdecision denying m odificadon

    ofthepretrialprotecdve orders.ECF N o.483.

          O n February 15,2013,Pateland the governm ententered into awritten plea

    agteem ent,in wlùch Patelagreed to plead gut
                                               'ltyto six counts:CountO necharging him with

    conspidngto disttibutecontraband cigaretes,invioladon of18U.S.C.j3719CountTwo


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   charginghim with conspidngto commitmoneylaundering,in violaéon of18U.S.C.j
    1956$);Count56charginghim withtrafhclcingincontrabandcigatettes,inviolationof18
   U.S.C.j2342/)9Count133 charginghim withmoneylaunderingtopromotedisttibution of
    contraband cigarettes,invioladon of18U.S.C.j1956(a)(1)(A)(i);Count156charginghim
   wit.h m oney laundering related to the proceedsfrom the saleofconttaband cigarettes,in

   violaéon of18U.S.C.j1956(a)(3)(A)-(B);and Count169charging him with engagingin a
    monetarytransacéon in crim inallyderived fundsgreaterthan $10,000,invioladon of18

    U.S.C.j1957.PleaAgree.,ECF No.492;seeludgmentat2-3,ECF No.654.
          Afterpleadingguilty,Patelmoved towithdtaw hisJanuary17,2013interlocutory
    appealto the Fourth Circtzit.O n M atch 8,2013,theFourth Circuitdisnlissed Patel'sappeal

   pursuanttoLocalRule42$)oftheFederalRulesofAppellateProcedute.UnitedStatesv.
   Patel,No.13-4045(4t.
                      h Cir.Mar.8,2013),op.at1,ECFNo.5029seeFed.R.App.P.429$.
           OnAugust29,2013,acriminaljudgmentwasenteredsentencingPatelto84months
    ofimprisonmentfollowed bytwoyearsofsuperdsedrelease.Judgmentat3-4,ECF No.
    654.Patelclidnotflleadirectappeal,andhisjudgmentbecamefinalonSeptembet28,2013.
           OnM arch 30,2017,Patelftled thepresentj2255motion seeldngvacaturofhis
    gtul
       'typlea and releaseofhissubsétazte assetsclnim ingzettoacéve applicadon ofLtzisand

    recentdiscovery oftheclnim ed Brad violadon.In llisflrstclnim ,Patelallegesthe clisttict

    courtviolated llisSixth Am endm entrightto counselofchoice by preserdng tlaeprettial

    protective ordersrestraining Patel'ssubstim teassets.

           In llissecond cbim ,Patelassertsthatthegoveznm entviolated Patel'sconsùtudonal

    dueprocessrightsunderBrad v.M         land,373U.S.83 (1963),when itfailed todisclose


Case 5:11-cr-00031-MFU-RSB Document 899 Filed 12/13/18 Page 4 of 20 Pageid#: 10632
   thattheOfficeofthelnspectorGeneralr<O1G'')intheU.S.DepartmentofJusdcewas
   engaged in an ongoing auditoftheATF'Sproceduresand conductduring theitw esti
                                                                              gadon

   underlying Patel'scharged crim inalactivity.Patelassertsthatherequested discovery on ATF

   investkatoryimproprietiesbyletterluly31,2012,ECF No.871,Ex.C,butapartfrom an
    em ailed zequestfozfutthezspeciikity,no discovery telated to the O lG auditand reportw as

   produced.3Patelclqim sthathe would nothaveenteted a 11111 plea had propetdiscovety

    been provided apprising him ofthe myriad ATF im propdeéesrevealed in the O lG Report.

   The auditand investigatory field work,w hich predatesPatel'sp.
                                                                1111 plea,led to the O IG

    publishing areportin September2013(the<KOIG Report'),amonth afterPatelwas
    sentenced.O lG Report,ECF N o.871,Ex.B.TheO IG Reportideno ed certain ATF

    nnisconduct,concluding thattheATF had failed to authorizeseveralcontraband cigarette

    investkationsand complywit.h accountingproceduresforseizedassets.TheSeptember16,
    2013ATF responseto theOIG ReportstatesthatKfgalsearlyasM arch 2011,ATF
    recognized issueswith them annerin w llich incom e-generaéng undercoveroperadonswere

    being conducted.''ECF N o.871,Ex.B,Auclitofthe Bureau ofA lcohol,Tobacco,Firent'm s

    and Explosives'U se oflncom e-Genezating,UndercovetO peraéons,A pp.1I,at54.

   Appendix 1 to theATF'SSeptem ber16,2013response to the OIG Repol'tisentitled

    KfTim eline ofChtztning Rem edialM easuresy''and thiscllronology ofagency acévitym akes

    clea.
        rthattheATF wasaware ofproblem swith itsundercovertobacco operadonsand was



            3WhilePatel'spetitionallegesthatthegovernmentrespondedtohisdiscoveryinquirybyletterdatedluly31,
    2013,ECF N o.871,at8,no such letterwasattached to lzispetidon.Patelresponded to an inquiry from tlze court
    regarding the reference to thisletterby stati
                                                ng thatthe referencere:ected a typographicalerrorand wasZ tended to
    refeztodefensecotmsel'sletterofJuly31,2012.SeeECFNos.897,898.Nonetheless,Patel'scounselstatesthatffgals
    farasclzrrentcounselisaware,theGoveznmentneverrespondedorprovidedany 6lrfherdocltm entadon toPatel's
    defenseteam .''Letter,ECF N o.898,at1.



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   taldng stepsto correctthem in 2011 and 2012,when Patel'sdiscoveryrequestswere

   pending.Patel'sdiscoverylettezofluly31,2012soughtspecifcinformation regarding
   inappzopriate conductby ATF agentsin conducdng these operaéons.ECF N o.871,Ex.C.

   Indeed,Patelclnim s thatO peration Alpha highlighted in the O IG Reportisthe invesdgadon

   referstohiscase.Patel'spetitionallegesthatthattheOIG reportwasthesubjectofa
   Septembez25,2013 W ashington Postarticle.SariHorwitz,A TF /:# track #'J./zzzv/zbrcartons
   Y'ôrkrr4rz.
             rzkJ/zk,jqperations,rfp4rz/kla'
                                           ,WASH.POST,Sept.25,2013.ECFNo.871,at3n.2.
            Sincetheftlingoftlzepresentj2255modon,Patel'scounselsentalettezto tlzecolzrt
    onlanuary18,2018,zaising ffzecentdevelopmentsand adnaissionsfrom theBureau of
   Alcohol,Tobacco and Firentvns.''ECF N o.893.In thelettez,Patel'scounselassertshehas

    discovered new itlform adon regarcling lnisBI.
                                                 Ad
                                                  --y clnim .Patelcitesto aréclespublished by the
                                                   - -.




   N ew York Tim esin 2017,4which heclnim srevealim propriedesbeyond those contnined in

    the O lG Report.Patel'scounsel'sletterfocuses,asdo theN ew York Tim esardcles,on an

   ATF ffm anagem entaccount''used to fbm d undetcovetopetationsassociated with Big South,

    atobacco warehouse in Bristol,Virginia.Counsel'sletterrefersto theATF'Suseofthisbank

    accountand alleged dealingsbetween Patel'sco-conspiratorsand Big South,notlng thatthe

   Bristolwarehousewasexpresslymendonedin Patel'sindictnent.Indictment,ECF No.3,!!
    36,70.O n February 16,2018,thegovernm entresponded to theletter,contending thatit

    setsforth improperand untim ely argum ents. ECF N o.894.

                                                    II.




           4MattApuzzo,A.T.R FilledJ:czv/BankAccount;#J'
                                                       /âMilâonsfrom .5'
                                                                       /wAr Cèarettej'ales,N.
                                                                                            Y.TIMES,Feb.22,
    20179MattApuzzo,ISmellCash'
                              ;How theA.T.F.SpentM ilâonsUnchecked,N.Y.TIMES,Sept.8,2017.


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          Tostateaviablecllim forreliefunderj2255,apetidonermustprove:(1)thathis
   sentencewasTKimposedin violation oftheConstitudon orlawsoftheUnited Statesi''(2)
   thatffthecourtwaswithoutjtuisdicéontoimposesuchasentencei''ot(3)thatt:thesentence
   wasin excessofthem'axim um authozized by law , otisotherwisesubjectto collateralattack.''
   28U.S.C.j2255($.Patelbearstheburdenofprovinggroundsforacollateralattackbya
   preponderanceoftheevidence.Jacobsv.United States,350F.2d 571,574 (4th Cir.1965).
          A thresholdissuefotthecouztiswhetherPatel'sj2255pedtion istimely.Under28
   U.S.C.j2255(9(1),apeddonerhasoneyeatfrom thedatethathisjudgmentofconviction
   becomesfinaltoattackthecorrespondingsentence.Patel'sctiminaljudgment,enteredon
   August29,2013,becam e finalon Septem ber28,2013.See C1a v.United States,537 U .S.

    522,524-25(2003)(stadngaconvictionbecomesfinaloncetheavailabilityofdirectreview is
   exhausted).Patelconcedesthathisj2255petiéon wasnotftledwithin oneyea.
                                                                       rofhis
    convicéon becorning final.BecausePatel'sjudgmentofconvicéon wasfinalfotmorethan
    threeyearsbeforeheflled thisj2255petidon,hemustsatisfyoneofj2255($'sother
    con
      'ditionsforrenewing thelim itationsperiod.

                                            111.

          Forllisftrstclaim ,asserdngviolation ofhisSixt.h Am endm entrightto counselof

    choice,Patelreliesonj2255(9(3),wlzichallowsthelimitadonsperiodtobeginon ffthedate
    onwléch therkhtassertedwasinidallyrecognizedbytheSupremeCotut,ifthatrighthas
    been newly recognized by the Suprem e Courtand m ade rettoacdvely applicable to caseson

    collatezalreviem ''28U.S.C.j2255($(3).Thej2255($(3)limitaéon periodnznsfrom the
    dateon which theSuprem e Courtrecognizesthe new right,notthe date on which thenew



Case 5:11-cr-00031-MFU-RSB Document 899 Filed 12/13/18 Page 7 of 20 Pageid#: 10635
   rightwasffmaderetroacéveg.
                            l''Doddv.UnitedStates,545U.S.353,357-60(2005).<fA
   peutionezwho collatezally attackslnisconvicdon m ustestablish thatthe changeapplies

   retroactivelp':Millerv.UnitedStates,735F.3d141,145(4t.
                                                        h Cir.2013).
           Patelargueshiscllim wasflled v'ithin one yearofthe Suprem e Couzt'sdecision in

   Luis,which held thatffthe prettialresenintoflegitimate,untainted assetsneeded to retain

   counselofchoice violatesthe 5ixth Am endm ent''136 S.Ct.at1088-1092.Specifically,Patel

   arguesthatthe decision in Lllisconsétutes anew rightthatwasitlitiallyrecognized by the

   SupremeCourtonM arch30,2016,maldnghisj2255modon flledon M arch 30,2017
    tim ely.

                                             A.

           TheSLxt.hAmendmentprovides,ffln allctiminalprosecudons,theaccused shallenjoy
   theright...to have theAssistanceofcounselfothisdefence.''U .S.Const.am end.V I.The

    SixthAmendmentgrantsadefendanttherkhttoeffecéveassistanceofcounsel,see e..,
   Buckv.Davis,137 S.Ct.759,775 (2017),butalso thefffai.
                                                       ropportunityto securecounselof
    gone'sqown choice,Powellv.Alabama,287U.S.45,53 (1932).Ifadefendantdoesnot
   require appointed counsel,heisguaranteed therighttfto choosewho willrepresenthim .''

    UnitedStatesv.Gonzalez-Lo ez,548U.S.140,144(2006).A defendant'sl'ighttocounsel
    ofchoice,however,isnotabsoluteand Tfhaslimits.''Luis,136S.Ct.at1089.To besure,Tfgaq
    defendanthasno Sixth Am endm entrightto spend anotherperson'sm oney forserdces

   rendered byan attorney,even ifthose fundsare the onlyw ay thatthedefendantwillbeable

    to retain theattorney ofhischoice.''Ca lin & D   sdale Chartered v.United States,491 U .S.

    617,626(1989).W herefundsatein thedefendant'spossession urllawfully,ordftaintedy''

                                                8

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   theirSixth Am enHm entrightto choose counselisnotviolated when those fundsare seized.

   =
   Id

          In Luis,thepluralityheld thatthegovetnm ent'sffpretrialresttaintoflegitim ate,

   untainted assetsneeded to retain counselofchoiceviolatesthe 51 th Am enclm ent.':136 S.

    Ct.at1088.Thedefendantin Luiswascharged wit.
                                               h fraudulently obtaining approxim ately

   $45m illion thtough ctimesrelated to health caze.Thedefendantspentneatlytheentitetyof

    the$45million,renderingthetainted Smdsunavailableforforfeitute.Thegovernment

    thereforesoughtthepretrialresttaintof$2 million in untainted assetsrem niningin the
    defendant'spossession,wllich precluded herfrom being ableto privately retnin an attozney

    atall.SeeidxIn analyzing whetherthegovernm ent'sprettialtestraintofthe defendant's

    untainted assetscontravened the Sixth Am endm ent,the Suprem e Courtaddtessed the

   principlessetfort.
                    h in UnitedStatesv.Monsanto,491U.S.600,616 (1989),and Ca 191&
   D sdale,491U .S.at626,wllich respecévely pe= itted thepretrialand post-convicdon

   zesttaintoftainted assetsunderciviland crimihalfederalforfeitnprestatutes.Rejecdng a
    broad reading ofCa lin & D sdaleand M onsanto,the Suprem e Courtheld thatthenatate

    ofthe assetsatissuein Luis- untainted funds- differed importantly from theassetsatissue

   in those earliercases.Id.at1085.Given the untninted assetsatissue,the Suprem e Colzrt

    held thata defendantffhasa Sixth Am endm entrightto useherown Tinnocent'property to

    pay areasonable fee fortheassistance ofcounsel.''Id.at1096.Thus,when consideting

    whetherarestraintofassetsviolatesadefendant'sSixthAmendmentrkhts,Ltzisinstructs
    thatthe nature oftheassetsconttols.SeeLd.a

                                                 B.



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        Thepardesdisputewhetherthe decision in Ltzisappliesretroacévely to Patel's

 convicdon.Although Luisisinstrucdveprospecdvely regarding prettialrestraintof

 untainted assets,the Suprem e Courtdid notexpressly statew hethetitsrtzling applied

 retroactively to caseson collateralreview. Therefore,the courtm ustdete= inewhetherthe

 ruleannounced in Luisisnew and whethezitcan be afforded retroactive application.

        A new rule5appliesretroacdvely only ffwhen itbreaksnew ground orim posesa new

 oblkaéonon theStatesortheFedetalGovernment''otKfifthetesultwasnotdictatedby
 precedentexisting atthe tim e the defendant'sconvicéon becam e final.''Tea ev.Lane,489

 U.S.288,301(1989)(pluralityopinion).However,<facasedoesnotCannounceanew rule,
 gwhenjit(isqm erelyan application oftheprinciplethatgoverned'apziozdecisionto a
 differentsetoffacts.':Chaidezv.United States,568U.S.342,347-48(2013)(quoting
 Tea ue,489U.S.at307)(emphasisin original).
         In Luis,itwasundisputed thatthedefendant'srestrained assetsw ere untainted,or

 unconnected to the alleged crim e,and thatshewasbarred from using heruntainted fundsto

 Tfhite counselto defend herin hercrim inalcase.''136 S.Ct.at1088.Thegovernm entargues

 thatthe ruleannounced in Llzis,thata defendantKfhasa Sixth Am endm entdghtto useher

 own finnocent'property to pay areasonablefee forthe assistanceofcounsel,''Luis,136 S.

 Ct.at1096,isan old onerepresendng a straightforward applicadon ofthe Sixth Am endm ent

         5Secdon2255(4(3)referstoanew ffrighq''whereastheframeworkunderTea ereferstoaffnew rule.''
 Com are28U.S.C.j2255(9(3),withTeaguev.Lane,489U.S.288(1989).WhiletheFourthCircuithasnotexplicitly
 resolvedthisissue,thelanguageofj2255(9(3)directlyimplicatesTeague,statingthattheclauseonlyappliesf'ifthat
 rkhthasbeennewlyrecognizedbytheSupremeCourtandmaderetzoacdvelyappncabletocasesoncollateralzeviem''
 SeeTea e,489U.S.at292(addressingtheffretroacévityforcasesoncollateralrevieW ).Moreover,itNeemsllnlikely
 thatCongzessm eantto tziggerthe developm entofanew body of1aw thatdisdnguishesrightsthataze f
                                                                                             newly
 recognized'from rightsthatarerecognizedinfnew rale'tmderestablishedretroactivityjurisprudence.
                                                                                              ''Headbirdv.
 UnitedStates,813F.3(11092,1095(8thCir.2016).Thus,arightunderj2255(:(3)mustbeanalogoustoaffnew rale''
 underTeague.


                                                     10
Case 5:11-cr-00031-MFU-RSB Document 899 Filed 12/13/18 Page 10 of 20 Pageid#:
                                  10638
 to anew facttzalsetting notaddressed in Ca lin & D sdale and M onsanto.The Ca En &

 D sdale and M onsanto decisionsdiscussed whetherrestraining fftainted''assetswasproper

 in lightofthe 5ixth Am enclm entrightto choose counsel,whiletheLuisCourtconsidered

 how those sam e constituéonalprotecéonsapplied to a caseinvolving fTuntainted'?assets.See

 Luis,136 S.Ct.at1088-89.

        On thesegtounds,anum betofcouttshave denied rettoacdveapplicadon to Luis.

              The Suprem e Court's opinion in Llzis w as based prim arily on
              the application of two exisdng cases: Ca lin & D sdale
              Chartered v.United States,491 U.S.617 (1989) and U.S.v.
              Monsanto,491 U.S.600 (1989).Forthisreason,couttshave
              consistently held that Luis is not retzoactively applicable on
              review.See Thaw v.United States,2016 W L 4623053 (N.D.
              Tex.,Aug.16,2016)(unpublished);Noelv.UnitedStates,2017
              W L 548985 (W .D.N.C.,Feb.8,zol7ltunpublished);Valencia-
              Trujillo v.United States,2017 WL 3336491 (M .D.Fla.,Aug.4,
              zol7ltunpublished);Clark v.Harmon,2017 WL 2493271,at*2
              (N.D.Tex.,May 10,zol7ltunpublished);Farkas v.Andtews,
              2017 W L 4518684 (E.D.N.C., Oct.10,zol-/ltunpublished);
              Rand v.United States,2018 W L 1114376 (N.D.Tex.,Jan.8,
              zol8ltunpublished);UnitedStatesv.W atson,2017W L 4698962
              (S.D.Tex.,Oct.19,zol7ltunpublished).Luisthereforedoesnot
              afford Defendant a later accrual date for purposes of j
              2255(4(3),andtheMotion istime-barred underj2255(9(1).
 United Statesv.Ho kins,No.2:09-c1-000863MCA,2018WL 1393780 (13.N.M.Mar.19,
 2018).
        Even ifLkiisisconsidered to enunciate anew rule,itisoneofprocedure,not

 substance.Assuch,to haveretroactiveim pact,ism ustconsdm teaw atershed ruleof

 ctim inalprocedure im plicaéng the fundam entalfaitnessand accuracy ofthe crim inal

 pzoceeding.W atershed rulesarean fTexttem ely natzow''class,Schrito v.SlAm m erlin,542 U.S.

 348,352 (2004),and mustbeonesTfwithoutwlzichthelikelihood ofan accurateconvicdonis

                                             11
Case 5:11-cr-00031-MFU-RSB Document 899 Filed 12/13/18 Page 11 of 20 Pageid#:
                                  10639
 seriouslyHiminished.''J-d-,(quoéngTeaguev.Lane,489U.S.at313).fflnordertoqualifyas
 watershed,anew rule m ustm eettwo requirem ents.First,therule m ustbenecessary to

 preventan im pe= issibly largerisk ofan inaccurate conviction.Second,therulem ustalter

 ourunderstanding ofthebedrock proceduralelem entsessentialto the fairnessofa

 proceeclinp''W hortonv.Bockén ,549U.S.406,418(2007).InValencia-Trtz'
                                                                    illov.United
 States,No.8:11cv 428-1-I-/EAJ,2017W L 3336491,*8(M.D.Fla.Aug.4,2017),thecotztt
 found Ltzisnotto ffm eetthose stringentstandards.''

       SinceLuiswasdecided,no cotzrthasfound itto haveretroactiveeffecton collateral

 review.M any courtshavenot.In addiéon to those cited by theH o kinscoutt,othercourts

 denying retroacéveapplication to Luison collaterglreview includeU nited Statesv.Srnith,

 No.16-61210-CIV,2016W L 9108538,*2(S.D.Fla.June8,2016)rdlvuishasnotbeengiven
 retroactiyeapplicaéon.');UnitedStatesv.Sadi,No.12-20272,2017WL 3457175,*4(Aug.
 11,2017)(fttzis'sholdinghasnotbeenheldtoberetroactive.');Guzman v.UnitedStates,
 No.3:10-CR-161,2018WL 1586099,*12(E.D.Tenn.Mar.30,2018)rfpetiéonerhasnot
 establishedthatLuishasbeen maderetroactivelyapplicableto caseson collateralreviem ');
 Mar uezv.UnitedStates,No.EP-17-CV-65-DB,2017W L 10186412,*2rfMarquezhas,
 O ough herconclusory asserdons,stillnotshown thatLuisappliesretroacdvely to caseson

 collateralteviem ');Flemin v.U ton,No.4:16-CV-1042-Y,2018W L488724,*2(N.D.
 Tex.Jan.19,2018)rfFurthetmore,theFifth Circtzitalreadyissuedan orderrejecting
 Fleming'scontenéon thattheLtéscasewasmaderettoactive.R).
        In addidon,three distdctcourtsin theFotlrt.h Circuithave declined to giveLtlis

 rettoactiveapplicadon on collateralteview.In N oelv.U nited States,N o.1:16cv-406-RT,
                                                                                     V,


                                             12
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 2017W L 548985,*3(W .D.N.C.Feb.8,2017),thepeééonerinaj2255habeaspeddon
 argued thatLtlisshould begiven retzoacdve applicadon on collateralreview asitrepresented

 a sea change in the law. Thedisttictcourtclisagreed,asfollows:

              Pedéoner has not shown that his peééon is tim ely in light of
              the Suprem e Court's decision in Luis.Assuming thatLuis even
              appliesto the factsofPeééoner'scase,Petiéoner failsto explnin
              why this Coklrt should find that Luis applies retroacdvely to
              cases on collateralreview .Thus,Petiéoner has failed to show
              thathispedtion istimely undetSection 2255(4(3)in lightof
              Luis.

 The Fourt.
          h Circuitaffrm ed the disttictcourtin N oelin an unpublished percutiam decision,

 statingthatffgwjehaveindependentlyreviewed therecord andconcludethatNoelhasnot
 m adetherequisite shoG ng.Accordingly,we deny acertificateofappealability and disnliss

 theappeal.''United Statesv.Noel,725Fed.Appx.236 (4th Cir.May30,2018).Liltewise,in
 Farkasv.Andrews,No.5:17-HC-2070-D,2017W L 4518648(E.D.N.C.October10,2017),
 the cotzrtconsidered whetherapeééon seeldng retroactiveapplicaéon ofLuisunder28

 U.S.C.j2241fellwithin thesavingsclauseofj2255/)and found itdidnot,inpartbecause
 ftuisdoesnotapplytettoacdvelyoncollatetalteviem ''ld.at*3(ciéngValencia-Tnjillo,
 Clarkv.Harmon,and Noel).Finally,in Bund v.UnitedStates,No.J1QB-14-0221,2018WL
 3458312 (D.Md.July18,2018),theMaryland distdctcourtheld thatfftheLuisrtzlinghasnot
 been held retroacdvely applicable on collateralreview asofthiswriting.T'
                                                                        hus,Luisdoesnot

 affozdabasisforBundyto cbim relief.''Id.at*4,n.8 (ciéngValencia-Trtz'illo).
        Thecouttagreeswith tlnisavalancheofprecedentthatLuisisnotenétled to

 rettoactive applicaéon on collateralreview.W hile theissueofa new ruleisa closeone,there

 isno basisto suggestthatLuiszepzesentsawatetshed rule ofcHminalptocedm e.A ssuch,


                                            13
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 the couttcannotfm d thattherule announced in Luisestablished anew rule ofconsdttztional

 law xvith retroactive apphcaéon.

                                                           C.

         Thefactsofthiscaseprovideadditionalreasonsw hyPatel'srelianceon Luisis

 unavc ng.First,Luisisdisénguishable from thepresentm atterasSilaLuisneeded the

 restrained fundsto privately retain an attorney.Luis,136 S.Ct.at1087-88.H ere,in contrast,

 Patelclid notneed the resttnined assetsto retain counselashewasrepresented by retnitned

 counselofllischoice and had alteady paid counselfeesin an am ountthe courtconsidered to

 be suffkientto defend thiscase.

         Second,thecokzrtaddressed theissueofPatel'sneed forrelease offorfeited

 subsdtuteassetswhenitheldtheFarmethearing.TheJanuary11,2013memotandum
 opinion issued afterthe Fat-m erhearing analyzed thenature ofthe assetsatissue and

 focused on whetherPateldem onstrated thathe lacked sufficientfundsto pay counsel.6


         6Specifcally,in itsanalysis,the courtfound Patel'sargum entforreleaseofhissubsdtm e assetsfozeclosed by
 FourthCirclzitprecedentbinrlingatthattime.InreBillman,915F.2d916(4thCir.1990),cert.denied,500U.S.952
 (1991),heldthat,pursuantto18U.  S.C.j1963,adistrictcourtmaylegifimatelyrestrain,pendingtrial,thedisposalof
 subsdtm eassetsorassetsthatwould only be secondarily forfeitableupon convicdon ifthedefendanthad placed prim ary
 assetsbeyondthejtuisdictionofthecourt.Ld.aat921.Billmanwasfollowedit4UnitedStatesv.Bollin,264F.3d391,422
 (4thCir.2001)(holdingdefendant'ssubstitmeassetstobesubjecttopretrialrestrainttopresetvetlleiravailabilityfor
 fozfeimre).AtthefimethecourtruledonPatel'smodonin2013,BillmanandBollinwerecontrollingcircuitprecedent.
 AfterLtzis,theFourthCircuitexpresslyoverruledbothcasesitlUnitedStatesv.Chamberlain,868F.3d290,295(4th
 Cir.201: rfFollowingLtlis,however,thesebasesforpermitdngtheprettialrestraintbfsubsdtuteassetslmderthese
 statm ozy provisionsappearfarlesscertain.Indeed,asdiscussed below,the plain language ofSecdon 853 inclicatesthat
 Congressclidnotintendthestatmetopermitsuchrestzaint.Accordingly,weherebyoverruleBillmanandBo11in.
                                                                                                 '').
           Pziorto Cham berlain'sabrogadon ofBillm an and Bollin,m ostdistrictcourtsin theFourth Circlzitrequired the
 pretrialrestraintofsubsdtt
                          zte assets.Patelrelied on an alternative approach taken in United Statesv.N a''
                                                                                                        ar,57 F.Supp.
 2d2050 .Md.1999),wherethecourtconcludedtlzepretrialrestraintofsubsdtmeassetstobeauthorized,butnot
 required,by the statm e,ratherm erely authoz
                                            'ized, finding thedistincdon behveen tainted and tm tainted assetsimpoztant
 to itsconclusion.TheN a''arcourtdisO gtzished Billm an,concluding thatthedefendant'sffixtlzA m endm entrightto
 cotmsel(
        was)simplymoreimpoztantthanthelovernment'sinterestinthetmtaintedpooonofgdjefendant'ssubstimte
 Pzopertp''Ld=at209.
          Distilledtoitsessence,theappzoachconsideredinNajjarforecaststheapproachtakeninLuiswheretlze
 balancebetween the defendant'sSixth Am endm entrightto counseland thegovem m ent'sintezestsin securing fozfeihue
 iscontingentupon thenattue ofthe assetsatissueand theneed forsuch assets.SeeLuis,136 S.Ct.at1101.After
 Patel'sFarmerhearing,thecourtconsideredthisapproachandfoundthatRgelvenundertheN-a.
                                                                                  jjgzcourt'sreadingof


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 Afterreviewing the am ountoffeèsPatelhad alreadypaid llisretained counsel,thecourt

 held thattelease ofadditionalassetswasunnecessary.Patel,949 F.Supp.2d at662-63.W hile

 Patelinidallyappealed thecolzrt'sJanuary13,2013ruling thataddiéonalfundswerenot
 needed,hewithdrew thatappeala m onth afterpleading guilty.A sagenerallnlle,ffcllim swill

 ordinarilynotbeenteztainedundetj2255thathavealreadybeenrejectedondirectreviem ''
 Reedv.Farle ,512U.S.339,358 (1994)(Scalia,J.,concurringin pal'
                                                              tandconcutringin
 judgment);seeUnited Statesv.Frad ,456U.S.152,165(1982)(ffhvlehavelongand
 consistentlyaffumed thatacollateralchallengemaynotdo serviceforan appeal.').
         Attheend oftheday,Luisdoesnotrequire thegovernm entto releaseallforfeited

 substittzteassets.Rather,LuisholdsthattheSixth Am endm entisim plicated onlyifforfeited

 substituteassetsare needed fortrialcounsel.SeeUnited Statesv.M arshall,N o.16-4494                                     '

 2018WL 5809728,*4(4thCiz.Nov.6,2018)r%ecauseMarshallwasrepresentedbythe
 counselofhischoice,therewasnoneed fortheseized fundsand,thus,noLuiserron');
 United Statesv.Gordon,657 Fed.Appx.773,779(4th Cir.2016)rfGordon didnotneed
 the assetsto tetain counselashe,in fact,had tetained counseloflnischoiceand thatcounsel

 fthoroughglyjandvigorousqyj'represented him attrial.Thezefore,unlikethecotut'sordetin
 Luis,thegovetnm ent'sacdonsin imposing pretrialresttaintson l'lisassetsclid notprevent

 him from exercisingllisSixthAm endmentrighttoretain counselofhischoice.7).Thesam e
 istruehere.Following the Fltm erhearing,the courtconcluded thatPatelhad not

 established thatsufficientfundswere unavailable fortrialcounsel,holding asfollows:TTl-lere,


 Billm an,''releaseofPatel'sassetswould only be appropdateifPatelestablished tluthelacked suffcientftm dsto pay
 cotm sel.Patel,949 F.Supp.2(1at662.A fterteviewing the ffm agnitudeofcotm selfeespaid to Patel'slaw yers,''presented
 to thecourtin asealedletter,thecouz'tconcludedthatPatelfailed to makesuch ashowing.Lckat663n.20.

                             '
                                                         15
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 Patelcannotm ake thatshowing ashiscounselhasbeen paid fundsw hich the courtbelieves

 are m orethan sufficientto defend tlliscase.Certainly,given the am ountoffeesthathave

 been paid to Patel'slawyers,there can beno credible atgum entthatPatel'sSixt.h

 Am endm entrightsare in dangerofbeing infzinged.';Patel,949 F.Supp.2d at663.See also

 UnitedStatesv.Sin leton,No,5:13-CR-8-lVKC-RF,
                                             W ,2018WL 5075982 (E.D.Ky.March
 20,2018)(holdingthatLuisdidnotundetminetheSixth Circuit'sftamewotk fot
 ascertainingneed to releaseassetstopay forcounsel).
       Both becauseLuisdoesnothave retzoactiveapplicaéon on collateralreview and

 becausePatelhad accessto ftm dsto pay hiscounselsufhcientftm dsto defend thiscase,

 Patel'sSixth Am endm entcllim m ustbedenied.

                                          IV .

       ln llissecond clnim ,Patelassertsthegoveznm entviolated hisrightspursuantto

 Brad v.M     land,373 U.S.83(1963),when itfailed to clisclosetheOIG'songoing
 inveségadon into ATF rnisconduct.Patelallegesthe OlG ReportidendhesATF misconduct

 undezlyingPatel'scrirninalinvestkaéon and convicdon.
       Forthisclnim,Patelreliesonj2255(4/)toasserttimeliness.Therenewed
 limitationsperiod underj2255($/)beginson thedateonwllich evidencesuppoong the
 cllim f<colald havebeen discovered through theexerciseofduecliligence.''28U.S.C.j
 2255(9/).In addidon,equitabletolling appliesto thestamteoflimitadonsin j2255
 proceedings.Hollandv.Flotida,560U.S.631,649 (2010),ifapeddonercan show (1)thathe
 hasbeenputsvûngbisrightscliligently,and (2)thatsomeextraorclinaryc/cum stancestoodin
 hisway and prevented tim ely flling.ln orderto benehtfrom equitabletolling,Patelm ust


                                             16
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 estabnsh ç'extraordinarycircumstancesbeyond glzisqcontrolthatmadeitimpossibleto flle
 thecleimsontime.''Harrisv.Hutchinson,209F.3d325,330(4thCir.2000).
                                                    A.

         ThepartiesdisputewhetherPatelexercised due diligenceitadiscovering the O lG

 Reportforthepurposesofj2255(44$.Patelazgueslaisclgim wasflledwithinoneyearof
 discovering theO IG Reportffthrough the exercise ofdue cliligence,''when hew asalexed to

 the O IG Reportby hisson,who w asprom pted to search forffinform ation concetning

 nefariousATF activities''when the Suprem e Courtannounced itsrulingin Luis,136 S.Ct.at

 1088-96. Patel'sson alerted him to thediscovery ofthe O IG Reportin D ecem ber2016.

 The governm entcountersthatPatel'sBzg.
                                      .
                                      d-y clqim isuntim ely because the O 1G Report
                                              - .




 could havebeen discoveredw hen itwaspublicly released in Septem ber 2013,and reported

 on in theW ashington Poston Septem ber25,2013,am onth afterPatelwassentenced.7A s

 detailed inPatel'scounsel'sletterofJanuary18,2018,theNew YorkTimestevealedmore
 detailsrelevantto ATF'Scigarettechuzning operadonsin Septem ber2017.ECF N o.893.

         Patel'sprincipalargum entfornotftling hishabeaspetition untilm ore than three

 yearshad passed since theO IG Reportissued wasthathewasincarcerated.TheA'IT O lG

 ReportuponwhichPatelfoundslais>                    cl/im waspubliclyreleasedinSeptember2013
 and wasreported on in thenadonalm ediaon Septem bet25,2013.A tthe tim e,however,

 Patelwasnotyetin custody,ashe did notvoluntarily surrenderforanottlerm onth,on

 O ctober29,2013.ECF N o.701.M ozeover,Patelwasrepresented by llisretained counsel

 when theW ashington Postardcle broke,asevidenced by a pleacling flled on N ovem ber6,

         7PatelwassentencedonAugust14,2013,andhisjudgmentwasenteredonAugust29,2013.ECFNos.625,
 654.Pateiclid notappeal,and hisconvicdon becam efm althirty dayslater,on Septem ber28,2013.



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 2013.ECF N ö.,702.Thus,he cannotclnim thathiscustodialstat'ussom ehow prevented him

 fzom exercising due diligence.

        Pateldidnotfilehisj2255peééon untilM arch 30,2017,m orethan tllreeyearsafter
 the O IG Repottbecam epublic.H earguesthathispetdon isHm ely because heonly learned

 oftheOIG ReportinDecember2016,whenhissonfounditontheInternet.Butj
 2255($(4)doesnotcontnin anactualnoticestandard,rather,itisadueHiligenceone.Under
 these citcum stances,itcannotbe said thatPatelexercised reasonable diligenceto discover

 his>     clqim basedon the2013O1G Repot't.Assuch,his2017petition,aspleaded,is
 untimely even consideling j2255($($.
        N orm ay Patelbenefitfrom equitabletolling.Equitable tolling isavailable onlyin

 Tfthose rareinstanceswhere- due to cizcum stancesexternalto theparty'sown conduct- it

 w ould beunconscionableto enforce the lim itation period againstthe party and gross

 injusdcewouldresult.''Harris,209F.3d at330.Generally,apeééonerseeking equitable
 tolling m ustdem onsttate thathe hasbeen diligentlypuzsuing llisrightsand thatsom e

 exttaordinary citcum stancesstood in llisway to preventhim from ftling atim ely petiéon.

 SeePacev.DiGu lielmo,544U.S.408,41$ (2005)9Rousev.R.C.Lee,339F.3d238,246
 (4th Cir.2003).Thus,to beentitled to equitabletolling,an otherwisetime-barred pedéoner
 mustptesentff(1)exttaotdinarycitcumstances,(2)beyond hisconttolotextetnaltollisown
 conduct,(3)tlaatpreventedllim from ftlingon tim e.''J-C.
                                                        Lat246.Patel'sargum entthathewas
 incarcerated form ostofthelim itationspèdod doesnotconstim te an extraordinary

 circumstancewarranting equitabletolling.Indeed,irzthecontextofj2255pedéons,
 incarceration istheordinarycircllmstance.SeeUnitedStatesv.Sosa,364F,3d 507,512 (4th



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 Cit.2004)(KfgEjveninthecaseofanureptesentedprisoner,ignoranceofthelaw isnota
 basisforequitabletollinp').
          Because theO lG Reportwaspublicly availablebeforePatel'sconvicéon becam e

 final,he cannotclnim due Hiligencezegarding theunderlying O IG investigaéon and the

 issuesraised in the O 1G Report.Assuch,theone-yearstatute oflim itaéonsbarsPatel's

 %     clnim basedontheOIG Report.Thus,Patel'sj2255petidon,aspleaded,mustbe
 dismissed asuntim ely.

                                              B.

          N evertheless,Patelclaim sthatsincethetim e hefied lzispetition,additionalcllim ed

 im proprieiessurrouncling theuseofan ATF m anagem entaccountassociated with Big

 South tobacco warehousein Bristol,Vitginia,havesurfaced.These issuesonly cam e to light

 in 2017 asaresultofN ew York Tim esreporting.To the extentthatthese2017 revelaéons

 raise>       clnimsbeyondthosecontainedintheSeptember2013O1G Report,anargument
 can be m ade thatthey ate nottim ebatred.Accotdingly,the courtwillgtantPatelleaveto

 amend hisj2255petidon to allegeBrad violations,ifany,thattranscend theissueszaisedin
 the2013 O 1G Report.



                                               V.

          Forthereasonsstated,theftrstcbim ofPatel'sj2255modon,founded on
 retroacdveapplication ofthe Suprem eCourt'sdecision in Luis,isDE N IED ,and the

 goveznm ent'sm odon to dismissisGR AN TE D asto thatclnim .Given theulaifotmity of

 pzecedentholding thatLuisdoesnothave retroacéve applicadon on collatezalzeview and



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 the factsoftlaiscase,a Ceo ficateofAppealabilityisD E N IED asto Patel'sLllisclnim .

        Patel'ssecond cloim ,asseréng aBrad violaéon by fniling to provideinform adon as

 toanOfficeofInspectorGenezalitwestkadon,isbarredbytheoneyearstatuteof
 limitaéonscontainedin j2255(9,andisnotextendedbyeithezj2255($/)orthedocttine
 ofequitabletolling.Patelm akesno m edtoriousargum entfortheextension ofthe lim itaéon

 period untilhelearned ofthe O 1G Reportm ore than three yeatsafteritreceived nadonal

 m ediaattention in Septem ber2013.A ssuch,Patel'spetition,aspleaded,isuntim ely,and

 thegovernm ent'sm oéon to disrnisshisBcz-y
                                         d cbim isGRAN TE D . A Ceo ficate of
                                        - -




 AppealabilityisDENIED astotheuntimely>              clnim allegedinthepeétion.
       H owever,given Patel'sasseréon ofadditionalreveladonsin 2017,Patelwillbegiven

 an opportunity to am end hispetition to allege any Brady clnim sthatare notfim ebatred.

       An appropriateO rderw111beenteted thisday.


                                              Entered:ThisIJ dayofDecember,2018

                                       /w/           r'c/ve/
                                        ' V chaelF.Urb s '
                                              ChiefUnit StatesDistzictlpdge




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